            CASE 0:23-cv-03591-PJS-DJF Doc. 59 Filed 07/02/24 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Adekunle Kuku,                                  Court File No.: 23-cv-3591 (PJS/DJF)

                Plaintiff,
       v.                                         CAPELLA’S MEET AND CONFER
                                                   STATEMENT IN RESPONSE TO
Capella University, Capella Education             THE COURT’S JULY 1, 2024 TEXT
Company and Capella University, Inc.,                       ORDER

                Defendants.



       Defendants Capella University, Capella Education Company and Capella

University, Inc. (collectively “Capella”) submit this meet and confer statement in

response to the Court’s July 1, 2024 Text Order (ECF No. 57) requiring that the parties

file a joint meet and confer statement no later than close of business July 2, 2024.

       In response to the July 1, 2024 Text Order, Defendants attempted to meet and

confer with Plaintiff Adekunle Kuku (hereinafter “Mr. Kuku”)’s regarding his proposed

Amended Complaint. At 5:22 P.M. on July 1, 2024, Capella sent Mr. Kuku an email

regarding the meet and confer. (See Ex. 1 to July 2, 2024 Decl. of P. Hennigan in Supp.

of Capella’s Meet and Confer Statement). In this July 1, 2024 email, Capella informed

Mr. Kuku that it does not oppose his proposed Amended Complaint, but that Capella

intends file a Motion to Dismiss his Amended Complaint if the Court grants his Motion

to Amend. (Id.)
           CASE 0:23-cv-03591-PJS-DJF Doc. 59 Filed 07/02/24 Page 2 of 2




       At the time of this submission, Mr. Kuku had not responded to Capella’s attempt

to meet and confer. If Capella receives a response from Mr. Kuku, it will file a joint meet

and confer statement pursuant to the Court’s July 1, 2024 Text Order on behalf of the

parties.

Dated: July 2, 2024                   MASLON LLP

                                      By: s/ Peter C. Hennigan
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                                      ATTORNEYS FOR DEFENDANTS




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